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                                                          Exhibit A to the Complaint
Location: West Chester, PA                                                                          IP Address: 100.14.109.80
Total Works Infringed: 30                                                                           ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                            09-22-     Tushy          01-10-2021    02-09-2021   PA0002276153
           5E3DA7F3AA422383AC265CFFD2D0C43524E88FC7                              2021
           File Hash:                                                            16:00:33
           EFCE87CE8C06E931AAB49B4498D4288C58CE0A60458AFB169FB70F7B50848253
 2         Info Hash:                                                            09-20-     Blacked        02-04-2020    02-20-2020   PA0002229052
           3C2C57E931F357E253E12A3ECDF03AEF43D74F6B                              2021
           File Hash:                                                            00:54:58
           513C05FB289031E897F550EF7D1B869341186E858EB1638262A2CF057A3C30D6
 3         Info Hash:                                                            09-20-     Blacked        07-06-2019    08-02-2019   PA0002192304
           631470E267FBB84CD7D0847D868BA3EFB63C4895                              2021       Raw
           File Hash:                                                            00:54:35
           FF91C57F650087812B73D438B7323A83966205FA74AB387408FF60809B7A9F17
 4         Info Hash:                                                            09-17-     Blacked        11-16-2020    11-30-2020   PA0002266360
           9E2911B8E0DB6116F929767ECAEDB2B8E59ABE3B                              2021       Raw
           File Hash:                                                            20:39:09
           C6887594D6BB4782DF65AF67A0D9227C86FB098054E59E9CD8FF5C2FA12951E1
 5         Info Hash:                                                            09-17-     Vixen          01-24-2019    03-24-2019   PA0002183209
           DBC53F5100445FC520555669D14B450A26CD0260                              2021
           File Hash:                                                            17:03:22
           38B0A4B921AA06C2FEFE0FC8797633587D2BBE4F2601F11BD45C10B69F138E9B
 6         Info Hash:                                                            09-13-     Tushy          04-05-2020    04-17-2020   PA0002237308
           395C9DE15E1A58B4F45749B747E10989F0614848                              2021
           File Hash:                                                            19:22:32
           02DC8DA09806B5DBCD7C12787513F7424B29F37D1A6B78EE296F3A7BB015C2F8
 7         Info Hash:                                                            09-13-     Blacked        01-16-2021    02-09-2021   PA0002276150
           A5FC96E88D78817E097A7638BFF4C79028FA6961                              2021
           File Hash:                                                            16:19:00
           55201047A6F1DBCFB62B55B037645B94BB99CB98355AB7757178E4CB9279F561
 8         Info Hash:                                                            09-13-     Blacked        04-18-2020    05-19-2020   PA0002241472
           1EB9F1FD518011DA81313D9C95C13D2DAF986DEA                              2021
           File Hash:                                                            16:18:55
           BE0714950BAE66935380D8A295E3561971B9A96907AC462560C210D5E728F711
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         09-12-     Vixen     05-15-2020   06-08-2020   PA0002243648
       C0F9DFBBCBB07C188221F8B8E280B9D71304F727                           2021
       File Hash:                                                         20:09:56
       054F1670DFC9A90D4F4C2B678D67A41B5F85B77C2F8FDBC89B5F39A4C1011521
10     Info Hash:                                                         09-12-     Tushy     10-28-2019   11-05-2019   PA0002227106
       8F34597993DE588098657CD656DD5059DD44CAD9                           2021
       File Hash:                                                         16:55:15
       F8154248604ED5FF5507328C25E650D611387F177E370250F0C611A9A7419C80
11     Info Hash:                                                         09-12-     Blacked   12-28-2019   01-27-2020   PA0002223954
       F5E74DFA8F0DACDFF2F8FEB90B1F28741D3229D3                           2021       Raw
       File Hash:                                                         16:43:43
       F98EDDDABB567B72662D7BBAC00F6F9924942F00ACA8C9717BB49B2B7B69F2C2
12     Info Hash:                                                         09-07-     Blacked   07-20-2020   08-11-2020   PA0002252263
       C96B16B0190B8B94F371DD98C9F5A12C17551A9E                           2021       Raw
       File Hash:                                                         17:32:48
       DA10C894098D731549FC7A8C713ACA9AB2EEE3367B985A69CD8990754AEB6E72
13     Info Hash:                                                         09-05-     Vixen     06-26-2020   08-03-2020   PA0002259094
       F683FBD6C54CA8F71D181CEFBDE64E4696B89B4E                           2021
       File Hash:                                                         15:42:38
       AB763C22CF262B9B68D5D40D10AD0A02B7DB039F55FA9C40868B595F877CBB5A
14     Info Hash:                                                         09-02-     Blacked   04-06-2020   04-17-2020   PA0002237306
       1F1303806A1826C0A08CF0ACC2716AD13B235550                           2021       Raw
       File Hash:                                                         20:13:08
       D14D50503D631A43141FF5A0CB7E94845C57C3C8CE97AD699364260A1D165EA1
15     Info Hash:                                                         09-02-     Blacked   02-24-2020   03-18-2020   PA0002241627
       737BAEDD2696FD143B73AAF96DC9CE34C0A23A18                           2021
       File Hash:                                                         20:12:42
       A8DE1F63C2B9E46A34E2F3FBA2D73F1CF4CD997B350708D1E7F7F20A7012C4CF
16     Info Hash:                                                         08-29-     Tushy     09-28-2019   10-21-2019   PA0002207776
       B5803BD427ED0B817573FEADA5AB0BAC06A75660                           2021
       File Hash:                                                         16:13:06
       6860798CD1239976A06AE12814D40F67C889567CD353D0C487DF6C4A91A4CF5E
17     Info Hash:                                                         08-25-     Tushy     11-17-2019   11-27-2019   PA0002213996
       B38789D2660FB1EE3DA0AA10BE0F52C69922CF8D                           2021
       File Hash:                                                         22:54:46
       6C0D956A38FEE68446BE1F27C124CDEAB7F710F0ED15B20D39B4A0D4615289EA
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         08-25-     Blacked   05-09-2020   06-08-2020   PA0002243649
       2216AD69D5A3D13CC05084A5E269289BF59DB0BC                           2021
       File Hash:                                                         19:39:13
       5FA4D9CF2094698AD723474CEED970CBCABF542821C80D549BB6C79BFEA20627
19     Info Hash:                                                         08-18-     Blacked   10-07-2018   10-16-2018   PA0002127790
       2E1AF2285E5AD1C034D39C3E9E99C65DBDCFD376                           2021
       File Hash:                                                         18:37:01
       B4309B6EE6675D3179E10371F0C9F67C9F347348F73DE3F8946234F130BA91CD
20     Info Hash:                                                         08-18-     Vixen     10-30-2020   11-18-2020   PA0002272620
       73D9C4C067D2FE0268A6E9AA91955189992034EE                           2021
       File Hash:                                                         17:49:33
       7AFCF5A314637A8AC22DF7242A047DF0B3FD5975F2477C6CD80DAA09822E70B6
21     Info Hash:                                                         08-11-     Vixen     07-09-2021   08-20-2021   PA0002312016
       9D1856700B91C39D8A241F97686AB25781DE0068                           2021
       File Hash:                                                         17:30:36
       F23AFB12A245B3128094DEA7643020281A07036BDD7795ED9B72152023839579
22     Info Hash:                                                         08-11-     Blacked   12-12-2020   01-04-2021   PA0002277035
       47D9BA959DE76BB3ED646DA292BE4211335BCA94                           2021
       File Hash:                                                         04:51:47
       45DC718689123574D7814152D306B9CB7F23978999ED0746E9323989F9E9C9B4
23     Info Hash:                                                         08-05-     Tushy     08-04-2019   08-22-2019   PA0002195508
       A364668687E18CD3A616FBD5CF37CEEB1BB27745                           2021
       File Hash:                                                         17:25:19
       72956D86AC4BCED4BA8C9BB25799B73BA488CD84EDEE81C2F05C36B328D56C69
24     Info Hash:                                                         08-01-     Blacked   07-10-2021   08-02-2021   PA0002305090
       EA6F220459956CD837F61818992202FB579E460E                           2021
       File Hash:                                                         19:45:47
       2B7A3F12673E218BE0CCB089A81FF87AE2CA29B32840736E5C5051B4700B533E
25     Info Hash:                                                         07-29-     Vixen     06-19-2020   06-25-2020   PA0002256361
       019456D595013DA897A7648108B148570DF6881A                           2021
       File Hash:                                                         17:20:07
       E094662D7A4EC45236C3543A91E863DCE99D9359D70049F358AB335B1862CAB5
26     Info Hash:                                                         07-20-     Tushy     06-06-2021   06-15-2021   PA0002296921
       7D50BDB848CCFFB2AF7274DDDB674364A7D487AE                           2021
       File Hash:                                                         18:36:38
       35BC69BCAA0B7BB6A518963387DE5A99E48C1D3C34F16BA644AE0A25F696CA21
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         06-29-     Tushy     10-18-2020   11-05-2020   PA0002263388
       CBA0783CF6966E0830D53C90D289FF1EFB306463                           2021
       File Hash:                                                         17:46:36
       AC07E22B51D482710B2F91D60C2614E8C6523BB9766C70C2CBA7879ED20C6543
28     Info Hash:                                                         06-19-     Vixen     06-11-2021   06-24-2021   PA0002303166
       DE3B8E05D1BB301D22AE5F24286FDC7738CDF4FE                           2021
       File Hash:                                                         10:03:44
       5CCE27B8CE6E46850F67D5CE70F07A561B6C34D05605CC4AD3162A2FB7B2374D
29     Info Hash:                                                         06-16-     Tushy     02-07-2021   03-08-2021   PA0002280362
       105499A6E2E07A3E47E5BC2C3EEA5E2698B9CF2C                           2021
       File Hash:                                                         17:44:02
       2C9EED4B71C275590E98182B0965B6D28C98B7F76DFF73FCAC96E49AB3AD3824
30     Info Hash:                                                         06-14-     Blacked   05-17-2021   06-03-2021   PA0002299687
       4D8587046DBDB1EAA8987C0AEDE8C8E2D33D5201                           2021       Raw
       File Hash:                                                         21:22:14
       0FB9892C2F76FF3FBDD59906A779FD46CB167799C6056A0406EA24379398714F
